 Case 2:90-cv-00520-KJM-SCR                  Document 8267      Filed 06/11/24   Page 1 of 5


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 9
10                                      UNITED STATES DISTRICT COURT
11                                      EASTERN DISTRICT OF CALIFORNIA
12
13 RALPH COLEMAN, et al.,                                   Case No. 2:90-CV-00520-KJM-DB
14                        Plaintiffs,                       JOINT STIPULATION AND ORDER
                                                            IN RESPONSE TO MAY 20, 2024
15                 v.                                       ORDER (ECF NO. 8243)
16 GAVIN NEWSOM, et al.,                                    Judge: Hon. Kimberly J. Mueller
17                        Defendants.
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     [4507432.8]
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                   JOINT STIPULATION AND ORDER IN RESPONSE TO MAY 20, 2024 ORDER (ECF NO. 8243)
 Case 2:90-cv-00520-KJM-SCR                  Document 8267       Filed 06/11/24    Page 2 of 5


 1                 On May 20, 2024, the Court ordered the parties to file within fourteen days any
 2 motions to modify or enforce the Court’s previous orders in connection with disputed
 3 Restrictive Housing Unit (“RHU”) regulations and policies, and/or to file a stipulated
 4 request to modify this Court’s previous orders to the extent necessary to conform those
 5 orders to specific RHU regulations and policies. See Order ECF No. 8243 at 6.
 6                 The parties have met and conferred and agreed to further modifications to
 7 Defendants’ draft RHU Mental Health Policy. The agreed-upon revision of the RHU
 8 Mental Health Policy is attached hereto as Attachment A.
 9                 The parties have two remaining potential disputes regarding the regulations, related
10 to two current exceptions to the transfer timelines for EOP and CCCMS patients—the
11 exception for medical holds, see Cal Code Regs. Tit. 15 §§ 3335.2(d)(1)(A) [EOP];
12 3335.3(d)(1)(A) [CCCMS], and the exception for patient refusals to transfer, see Cal Code
13 Regs. Tit. 15 §§ 3335.2(d)(1)(B) [EOP]; 3335.3(d)(1)(B) [CCCMS]; 3335.4(c)(1)(B) [GP-
14 RHU in Desert Institutions].
15                 The parties are optimistic that they can resolve both potential disputes by
16 negotiating language regarding medical holds based on the Court’s resolution of the related
17 medical hold issue in the context of transfers to CCCMS and EOP, see ECF No. 8216
18 (Joint Response), ECF No. 8206 (April 18, 2024 Order), and negotiating language
19 regarding patient refusals to transfer. Assuming the parties reach agreement, Defendants
20 would issue a policy consistent with their agreement.
21                 The parties agree that the previously stipulated and ordered medical hold transfer
22 timeframe exception and reporting obligations for desert institutions remains controlling in
23 circumstances where patients are either in a desert institution RHU when they are referred
24 to the MHSDS or are erroneously transferred to a desert institution RHU when they are
25 already EOP or CCCMS. See September 26, 2019 Order, ECF No. 6296 at 6-7 (desert
26 transfer medical hold exception); May 18, 2020 Order, ECF No. 6678 (reporting
27 obligations). The parties shall interpret Cal. Code Regs. Tit. §§ 3335.4(c)(1)(A) [GP-
28 RHU] consistent with this Court’s prior orders. The parties intend to negotiate language
     [4507432.8]
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                   JOINT STIPULATION AND ORDER IN RESPONSE TO MAY 20, 2024 ORDER (ECF NO. 8243)
  Case 2:90-cv-00520-KJM-SCR                 Document 8267       Filed 06/11/24    Page 3 of 5


 1 for a patient transfer refusal exception in this context.
 2 I.              STIPULATION
 3                 1.     The parties shall meet and confer regarding the RHU medical hold exception
 4 for a period of 30 days from the date the Court resolves the related pending dispute
 5 regarding medical holds for CCCMS and EOP transfers with an intention to submit a
 6 stipulation and proposed order. See ECF No. 8216 (Joint Response); ECF No. 8206
 7 (April 18, 2024 Order). If the parties cannot reach an agreement, they will inform the
 8 Court, and propose to file a joint report regarding their respective positions for resolution
 9 by the Court.
10                 2.     The parties shall meet and confer regarding the patient refusal to transfer
11 timeline exception. The parties shall file a joint stipulation and proposed order regarding
12 any agreement by July 3, 2024. In the absence of an agreement, the parties shall brief this
13 issue in the joint report discussed in paragraph 1.
14                 3.     Upon resolution of the potential disputes discussed in paragraphs 1 and 2, the
15 parties will request that the Court order that the RHU Mental Health Policy replace the
16 following sections of the 2021 Program Guide Update: Chapters 7-9 (ASU, SHU, PSU)
17 and the memoranda and policies on the Short Term Restrictive Housing (STRH) and Long
18 Term Restrictive Housing (LTRH). ECF No. 7333-1 at 126-167, 443-459, 469-471.
19                 4.     Subject to resolution of the potential disputes discussed in paragraphs 1 and
20 2, the parties also agree that the RHU regulations update certain aspects of the 2021
21 Compendium of Custody Related Remedial Measures and request that the Court approve
22 the updated Compendium. See ECF No. 7333-2. A copy of the updated Compendium that
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                   JOINT STIPULATION AND ORDER IN RESPONSE TO MAY 20, 2024 ORDER (ECF NO. 8243)
  Case 2:90-cv-00520-KJM-SCR                Document 8267      Filed 06/11/24    Page 4 of 5


 1 reflects changes made by the RHU regulations, but not other changes since the filing of the
 2 2021 Compendium Update, is attached hereto as Attachment B.
 3                 IT IS SO STIPULATED.
 4
 5 DATED: June 3, 2024                            Respectfully submitted,
 6                                                ROSEN BIEN GALVAN & GRUNFELD LLP
 7
 8                                                By: /s/ Marc J. Shinn-Krantz
 9                                                    Marc J. Shinn-Krantz

10                                                Attorneys for Plaintiffs
11
     DATED: June 3, 2024                          HANSON BRIDGETT LLP
12
13
                                                  By: /s/ Paul B. Mello
14                                                    Paul B. Mello
15
                                                  Attorneys for Defendants
16
17 DATED: June 3, 2024                            ROB BONTA, ATTORNEY GENERAL OF
                                                  CALIFORNIA
18
19
                                                  By: /s/ Elise Owens Thorn
20                                                    Elise Owens Thorn
21
                                                  Attorneys for Defendants
22
23                                                   ORDER
24                 The court has reviewed the parties’ stipulation. Consistent with the court’s May 20,
25 2024 order, ECF No. 8243, if the parties do not reach agreement on the dispute set out in
26 paragraph 1 of the stipulation the dispute shall be presented to the court in the form of
27 either a motion to modify or a motion to enforce an existing court order. If the parties do
28 not reach agreement on the dispute set out in paragraph 2 of the stipulation that dispute
     [4507432.8]
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                   JOINT STIPULATION AND ORDER IN RESPONSE TO MAY 20, 2024 ORDER (ECF NO. 8243)
 Case 2:90-cv-00520-KJM-SCR                 Document 8267      Filed 06/11/24   Page 5 of 5


 1 shall also be presented to the court by an appropriate motion brought in accordance with
 2 the Federal Rules of Civil Procedure and the Local Rules of this Court. Such motion(s)
 3 shall be filed in lieu of the joint statement proposed by the parties’ stipulation. This order
 4 constitutes authorization to file such motions as necessary. In all other respects, the
 5 parties’ stipulation is approved.
 6                 IT IS SO ORDERED.
 7 DATED: June 11, 2024.
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                   JOINT STIPULATION AND ORDER IN RESPONSE TO MAY 20, 2024 ORDER (ECF NO. 8243)
